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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

BILLY REAGINS, individually, and              )
on behalf of all others similarly situated,   )
                                              )
       Plaintiff,                             )
                                              )      Case No.: 4:22-cv-1186
v.                                            )
                                              )
MARC JONES CONSTRUCTION, LLC                  )
d/b/a SUNPRO SOLAR,                           )
                                              )      Jury Trial Demanded
Serve Registered agent at:                    )
C T Corporation System                        )
1999 Bryan Street, Suite 900                  )
Dallas, Texas 75201                           )
                                              )
       Defendant.                             )

                                 CLASS ACTION COMPLAINT

       COMES NOW Plaintiff Billy Reagins, individually, and on behalf of all others similarly

situated, and for her Class Action Complaint against Defendant Marc Jones Construction, LLC

d/b/a Sunpro Solar, states:

                 BACKGROUND, PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff Billy Reagins (“Reagins”) brings this case to protect the privacy rights of

himself and a class of similarly situated people who were called on their phones by Defendant

Marc Jones Construction, LLC d/b/a Sunpro Solar (“Sunpro”). Sunpro repeatedly called Reagins

and the putative class members after specifically requesting that Sunpro stop calling them.

       2.      In the early 1990s, Congress enacted the Telephone Consumer Protection Act

(“TCPA”) to protect consumers’ privacy rights, namely, the right to be left alone from unwanted

telemarketing calls. A leading sponsor of the TCPA described unwanted telemarketing calls as

“the scourge of modern civilization.” 137 Cong. Rec. 30821 (1991).
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         3.        The TCPA affords special protections for people who registered their cell phone

numbers on the National Do Not Call Registry and who request that they be placed on a company’s

internal do not call list. Specifically, the TCPA provides that each person who receives more than

one call on their cell phone after requesting to be placed on the company’s internal do not call list

is entitled to recover a penalty of $500 per call, and up to $1,500 per call if the TCPA is willfully

or knowingly violated.

         4.        In the first three months of 2022 alone, approximately 12 billion robocalls were

placed        in   the    United     States.   RobocallIndex.com,       YouMail      Robocall     Index,

https://robocallindex.com/history/time (last visited April 5, 2022). The private right of

enforcement of the TCPA is critical to stopping the proliferation of these unwanted telemarketing

calls. For example, while the Federal Communications Commission levied over $200 million in

penalties against telemarketers between 2015 and 2018, it collected less than $7,000 of that

amount. See Sarah Krouse, The FCC Has Fined Robocallers $208 Million. It’s Collected $6,790,

THE WALL STREET JOURNAL, March 28, 2019, https://www.wsj.com/articles/the-fcc-has-fined-

robocallers-208-million-its-collected-6-790-11553770803.

         5.        Reagins is an individual who resides in and is a citizen of the State of Texas.

         6.        Reagins brings this action on behalf of herself and all others similarly situated.

         7.        Sunpro is a Louisiana Limited Liability Company who is registered in the State of

Texas to transact business in this State. Sunpro has been in good standing to transact business at

all times relevant to this Complaint.

         8.        Sunpro transacts business in Texas and throughout the United States.

         9.        This Court has personal jurisdiction over Sunpro because it solicits business in the

State of Texas, conducts business in the State of Texas, and Sunpro otherwise has sufficient



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minimum contacts with the State of Texas, and such contacts are continuous and systematic.

       10.     Sunpro describes itself as being “one of the leading providers of rooftop solar in

the United States.”

       11.     Sunpro markets its products and services under the brand “ADT Solar,” in part,

through placing telephone calls to prospective customers’ phones.

       12.     Sunpro markets its products and services to persons who have not requested to be

called, and to persons who have specifically told Sunpro to stop calling them.

       13.     Numerous customers have complained to the Better Business Bureau about

receiving telemarketing calls from Sunpro after telling Sunpro to stop the calls. These complaints,

include, but are not limited to:

       •       “This company has been calling me from multiple numbers several times a day for
               months. They will not stop. I have never done business with them. I have asked
               them to stop. They won’t. Every time I block one of their numbers, they spoof a
               different number. As this point it is harassment.”

       •       “I keep on getting marketing calls all hours of the morning installing sun pro solar
               on my house, they know my name and address and call and text me all day long
               even after I’ve told them several times I’m not interested.”

       •       “My complaint against Sunpro is about unsolicited phone calls. Sunpro has
               somehow gotten my phone number and has called me 3 to 4 times a day. I have told
               them that I do not own a home and to stop calling because this does not apply to
               me but the calls keep coming.”

       •       “They will not stop calling me, they call multiple times a day. I have asked politely
               several times to be taken off their list. I have had enough, they obviously have
               refused to stop calling. I am NOT interested in solar power & if I was it definitely
               won’t be from Sunpro Solar. Next time they call me, my lawyer will call them
               back.”1

       14.     Other consumers have made similar complaints on other forums:

       •       “OK the spamming by this company has resumed. I would not do business with a

1
  Better Business Bureau – Sunpro Solar, https://www.bbb.org/us/la/mandeville/profile/solar-
energy-design/sunpro-solar-0985-90006391/complaints (last visited April 5, 2022).
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                 company that abuses potential customers with calls all hours of the day!! I have
                 repeatedly asked them to put my number on their do not call list, they say they have
                 and the calls continue!! Sunpro Solar calls my phone all hours of the day and
                 weekend. Each time I block their number, they call from another number. I have
                 told them more than once not to call me.”2

         15.     Reagins, like many of the persons who complained to the BBB and other forums,

also received multiple phone calls from Sunpro after expressly requesting that Sunpro stop calling

him.

         16.     Sunpro would also call Reagins multiple times a day from different phone numbers.

         17.     Reagins is the owner of a phone. His phone number is 832-XXX-3288.

         18.     Reagins phone is a residential line and is not a business line.

         19.     Reagins did not provide his phone number to be called by Sunpro.

         20.     Reagins has no prior business relationship with Sunpro.

         21.     Reagins never inquired of Sunpro about any products or services before or at the

time he received the calls at issue.

         22.     Reagins did not grant Sunpro consent to be called on his phone.

         23.     In 2021, Reagins received a call on phone from Sunpro. Reagins advised the Sunpro

representative that he did not want to be contacted against by Sunpro.

         24.     Reagins, however, continued to receive calls from Sunpro.

         25.     Reagins answered multiple calls from Sunpro and advised representatives from

Sunpro on multiple times to stop calling his phone.

         26.     Reagins received at least 100 calls on his phone from Sunpro for months after

requesting that Sunpro stop calling his phone.

         27.     As one example, on or about April 1, 2022, Reagins received a call on his phone.



2
    https://www.facebook.com/sunprosolaratlanta/reviews/ (last visited April 6, 2022).
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The caller ID identified the caller as “Sunpro Solar” and the phone number from which the call

originated as 346-443-6252.

          28.   Upon calling back the phone number 346-442-6252, the caller is greeted with a

recording that states “Thank you for calling ADT Solar.” After the recording is completed, a live

representative then answers the phone and identifies themselves as being a representative of “ADT

Solar.”

          29.   As another example, on or about April 2, 2022, Reagins received a call on his

phone. The caller ID identified the caller as “Sunpro Solar.”

          30.   On or about April 3, 2022, Reagins received a call on his phone. The caller ID

identified the caller as “Sunpro Solar” and the phone number from which the call originated as

346-359-8740.

          31.   Upon calling back the phone number 346-359-8740, the caller is greeted with a

recording that states “Thank you for calling ADT Solar.” After the recording is completed, a live

representative then answers the phone and identifies themselves as being a representative of “ADT

Solar.”

          32.   Sunpro’s conduct violated the privacy rights of Reagins and the putative class

members, as they were subjected to annoying and harassing calls. Sunpro’s calls intruded upon the

rights of Reagins and the putative class members to be free from invasion of their interest in

seclusion.

          33.   Sunpro’s conduct caused Reagins and the putative class members to waste time

addressing and/or otherwise responding to the unwanted calls.

          34.   On information and belief, Sunpro placed calls to Reagins and the putative class

members for the purpose of selling its products and services.



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                                         Class Allegations

       35.     Pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and (b)(3), Reagins brings

this lawsuit as a class action on behalf of himself and all others similarly situated. This action

satisfies the requirements of numerosity, commonality, typicality, and adequacy of representation.

       36.     Reagins seeks to represent the following class:

             All persons in the United States who from four years prior to the filing of this
             action through class certification: (1) Sunpro called more than one time, (2)
             within any 12-month period, (3) marketing its products and services, (4) more
             than one time after the person requested that Sunpro stop calling.

       37.     Reagins reserves the right to add administrative subclasses, or to amend the

definition of the proposed class, during the lawsuit proceedings.

       38.     The members of the proposed classes are so numerous that joinder of all members

is impracticable. Reagins reasonably believes that hundreds or thousands of people have been

harmed by Sunpro’s actions. The names and phone numbers of the members of the proposed class

are readily identifiable through records available to Sunpro or those acting on its behalf.

       39.     Most members of the proposed class have suffered damages in an amount such that

it would make filing separate lawsuits by individual members economically infeasible.

       40.     On information and belief, Sunpro has called and continues to call people who have

requested Sunpro to stop calling them, i.e., to be placed on Sunpro’s internal do not call list. It is

reasonable to expect that Sunpro will continue to make such calls absent this lawsuit.

       41.     Common questions of law and fact exist as to all members of the proposed class

and predominate over any questions affecting only individual members. The questions of law and

fact common to the proposed class include, but are not limited to:

       a.      Whether Sunpro placed calls to Reagins and the putative class members after they

requested Sunpro no longer call them;

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       b.      Whether Sunpro’s conduct violates 47 U.S.C. § 227(c);

       c.      Whether Sunpro’s conduct violates the rules and regulations implementing the

TCPA; and,

       d.      Whether Reagins and the putative class members are entitled to increased damages

for each violation based on the willfulness of Sunpro’s conduct.

       42.     Reagins’s claims are typical of the claims of the proposed class members because

his claims arise from the same practice that gives rise to the claims of the members of the proposed

class and is based on the same legal theories.

       43.      Reagins and his counsel will fairly and adequately protect the interests of the

members of the proposed class. Reagins’s interests do not conflict with the interests of the

proposed class he seeks to represent. Reagins has retained lawyers who are competent and

experienced in class action, TCPA litigation and consumer law.

       44.     Reagins’s counsel will vigorously litigate this case as a class action, and Reagins

and his counsel are aware of their responsibilities to the putative members of the class and will

discharge those duties.

       45.     A class action is superior to all individual lawsuits for this controversy. Joinder of

all proposed members of the proposed class in one action is impracticable if not impossible and

prosecuting hundreds or thousands of individual actions is not feasible. The size of the individual

claims is likely not large enough to justify filing a separate action for each claim. For many, if not

most, members of the proposed class, a class action is the only procedural mechanism that will

allow recovery. Even if members of the proposed class had the resources to pursue individual

litigation, that method would be unduly burdensome to the courts. Individual litigation could also

result in inconsistent adjudications.



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        46.     In contrast, a class action is superior in that it will benefit the court and litigating

parties through efficiency, economy of scale and unitary adjudication resulting from supervision

of the litigation by a single court.

        47.     Questions of law and fact, particularly the propriety of calling phone numbers of

persons who requested that Sunpro no longer call them, i.e., to place them on Sunpro’s internal do

not call list, predominate over questions affecting only individual members.

        48.     Sunpro has acted or refused to act on grounds that apply generally to the class,

making final injunctive relief or corresponding declaratory relief is appropriate with respect to the

class as a whole.

         Count I - Violations of the Telephone Consumer Protection Act ("TCPA"),
                                     47 U.S.C. § 227 et seq.

        49.     Reagins incorporates by reference the allegations of the previous paragraphs as if

fully stated in this Count.

        50.     The TCPA provides that “a person who has received more than one telephone call

within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection” may recover $500 for each violation, and up to $1,500 for each

violation, if the violation is determined to be willful. See 47 U.S.C. §§ 227(c)(5).

        51.     The regulations prescribed under Section 227(c) require companies like Sunpro,

who engage in telemarketing to institute “procedures for maintaining a list of persons who request

not to receive telemarketing calls on or behalf of that person or entity.” See 47 C.F.R. § 64.1200(d).

        52.     These procedures must meet several minimum standards, including, but not limited

to:

        (1) Written policy. Persons or entities making calls for telemarketing purposes
            must have a written policy, available upon demand, for maintaining a do-not-
            call list.


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       (2) Training of personnel engaged in telemarketing. Personnel engaged in any
           aspect of telemarketing must be informed and trained in the existence and use
           of the do-not-call list.


       (3) Recording, disclosure of do-not-call requests. If a person or entity making a
       call for telemarketing purposes (or on whose behalf such a call is made) receives a
       request from a residential telephone subscriber not to receive calls from that person
       or entity, the person or entity must record the request and place the subscriber's
       name, if provided, and telephone number on the do-not-call list at the time the
       request is made. Persons or entities making calls for telemarketing purposes (or on
       whose behalf such calls are made) must honor a residential subscriber's do-not-call
       request within a reasonable time from the date such request is made. This period
       may not exceed thirty days from the date of such request. If such requests are
       recorded or maintained by a party other than the person or entity on whose behalf
       the telemarketing call is made, the person or entity on whose behalf the
       telemarketing call is made will be liable for any failures to honor the do-not-call
       request. A person or entity making a call for telemarketing purposes must obtain
       a consumer's prior express permission to share or forward the consumer's request
       not to be called to a party other than the person or entity on whose behalf a
       telemarketing call is made or an affiliated entity.
       (4) Identification of sellers and telemarketers. A person or entity making a call for
       telemarketing purposes must provide the called party with the name of the
       individual caller, the name of the person or entity on whose behalf the call is being
       made, and a telephone number or address at which the person or entity may be
       contacted. The telephone number provided may not be a 900 number or any other
       number for which charges exceed local or long distance transmission charges.
       (5) Affiliated persons or entities. In the absence of a specific request by
       the subscriber to the contrary, a residential subscriber's do-not-call request shall
       apply to the particular business entity making the call (or on whose behalf a call is
       made), and will not apply to affiliated entities unless the consumer reasonably
       would expect them to be included given the identification of the caller and the
       product being advertised.
       (6) Maintenance of do-not-call lists. A person or entity making calls for
       telemarketing purposes must maintain a record of a consumer's request not to
       receive further telemarketing calls. A do-not-call request must be honored for 5
       years from the time the request is made.
See 47 C.F.R. § 64.1200(d)(1)-(6).
       53.    Sunpro failed to implement these minimum standards by repeatedly calling Reagins

and the putative class members after said persons requested that Sunpro stop calling them.

       54.    In addition, the TCPA allows the Court to enjoin Sunpro’s violations of the TCPA’s

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regulations prohibiting calls to phone numbers that should have been placed on Sunpro’s internal

do not call list. See 47 U.S.C. §§ 227(c)(5)(A).

         55.    By making calls to the phones of Reagins and the putative class members after their

numbers should have been placed on Sunpro’s internal do not call list, Sunpro violated the TCPA,

including, but not limited to, 47 U.S.C. §§ 227(c) and the TCPA’s corresponding regulations.

         56.    Sunpro knew or should have known that Reagins and the putative class members

did not wish to be called as such persons advised Sunpro that they did not wish to receive calls

from Sunpro Solar.

         57.    Reagins and the putative class members are entitled to damages of $500.00 per

violation for each call made by Sunpro and up to $1,500.00 per violation if the Court finds that

Sunpro Solar willfully violated the TCPA.


                                          Demand for Judgment

         WHEREFORE Plaintiff Billy Reagins, individually, and on behalf of all others similarly

situated, requests the Court grant the following relief:

         a.     Enter an order against Defendant Marc Jones Construction, LLC d/b/a Sunpro Solar

pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and (b)(3), certifying this action as a class

action and appointing Reagins as the class representative;

         b.     Enter an order appointing Butsch Roberts & Associates LLC as counsel for the

class;

         c.     Enter judgment in favor of Reagins and the putative class for all damages available

under the TCPA, including statutory damages of $500 per violation, or up to $1,500 per violation

if Sunpro willfully violated the TCPA;

         d.     Enter a judgment in favor of Reagins and the putative class that enjoins Sunpro


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from violating the TCPA’s regulations prohibiting Sunpro Solar from calling numbers that it has

been requested to stop calling;

       e.      Award Reagins and the class all expenses of this action, and requiring Sunpro to

pay the costs and expenses of class notice and administration; and,

       f.      Award Reagins and the class such further and other relief the Court deems just and

appropriate.

                                  DEMAND FOR JURY TRIAL

       Please take notice that Plaintiff Billy Reagins demands a jury trial in this case.


                                              BUTSCH ROBERTS & ASSOCIATES LLC

                                              /s/ Christopher E. Roberts
                                              Christopher E. Roberts (SDTX # 370819)
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